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                      EXHIBIT A
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'19 Kids and Counting' Son Named in Underage Sex Probe
May19. 2015at 3'12 pm
By In Touch WOQkly
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       More celeb gossip awaits'


Josh Duggar of the TLC hit reality show 19 Kids and Countingw as named in a police report as
the "alleged offender· in an u nderage sexual abuse probe. In Touch magazine is reporting
exclusively.

The c harge being pursued w hile Josh was a m inor was sexual assault in the fourth degree.
multiple sources who have seen the police report and are familiar w ith the case told In Touch
Accord ing to the report. Josh was brought int o the Arkansas St ate Police by his father. Jim
Bob. who said he caught him leaving a young girl's bedroom and "learned something
in;:innronririt A h ;:innAnP.ci." n nA ~0 1 1 rr:A s~ i c1
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Sgt. Darrel Hignite - ident ified by mu lt iple sources as t he officer w ho led t he invest igat ion into
t he allegat ions about Josh - told In Touch ·1can't comment or discuss [this case] because of
t he sensit ive nat ure and because it involved a juvenile."




                          The Duggar family. (Photo Cred it: Get ty Images)

Rumors about Josh have swirled for years, but In Touclis invest igation has uncovered t he
secret he has been hiding. "I saw and read t he report and it c learly stat ed that Jim Bob b rought
his son Josh into t he A rkansas State Police and spoke to a state t rooper about Josh's
involvement in alleged inappropriat e touching w it h a m inor." one sou rce told In Touch.

RELATED: Anna Duggar Congratulat es Preg nant Jessa Duggar

The first report was fi led shortly before 2005. Josh and his w if e, Anna, have t hree child ren and
live in Washington, D.C.. w here he is a lobbyist for t he Family Research Cou ncil.

For all t he latest inside Josh Duggaf s shocking past, p ick u p t he new issue of In Touch Week(y,
on newsstands tomorrow'
crimenews                                                              Case 5:17-cv-05125-TLB Document 42-1                                                             Filed 09/11/17 Page 5 of 5 PageID #: 370
                        WORLD E
                       EXCLUSIV           JOSH DUGGAR NAMED IN                                                                                                                                         The dark secret that 19 Kids and Counting’s




UNDERAGE SEX PROBE
                                                                                                                                                                                                              Josh Duggar’s been hiding




J
           osh Duggar had a con-          his son Josh into the Arkansas State    and didn’t follow up. Says an insider,                                                     information.” Police were frustrated
           fession to make. “As I be-     Police and spoke to a state trooper     “Hutchens really dropped the ball.”                                                        that they had to stop their investiga-
           came a teenage young man       about Josh’s involvement in inappro-       It took years for the report to                                                         tion due to the statute of limitations,
           I was constantly tempted to    priate touching with a minor,” says     end up with the Springdale Po-                                                             says the source: “A technicality pre-
have lots of wrong thoughts and often     a source, explaining that the report    lice Department. The report likely                                                         vented any further action. That’s been
battled to keep my heart right,” he ad-   stated that Jim Bob caught his son      would have stayed hidden if not for                                                        the biggest regret in all of this.” (The
mits on his website, hinting that the     leaving a young girl’s “bedroom and     a bizarre twist. Hutchens was twice                                                        statute has since been lengthened.)
wholesome image often showcased           learned that something inappropri-      convicted on child pornography                                                                Rumors about a sex crime have
on TLC’s 19 Kids and Counting isn’t                                               charges and is currently serving a                                                         swirled over the years. In 2013,
always accurate. “One of the greatest                                             56-year sentence. It was only after he                                                     Josh, his wife, Anna, 26, and their
things that helped me in my struggles                                             was investigated for one of his crimes                                                     kids, Mackynzie, 5, and Michael,
was my parents’ commitment to ac-          “The incident happened                 that a member of the Troop L Ar-                                                           3 (they later welcomed Marcus,
countability. I found I had a clear                                               kansas State Police called the Child                                                       11 months, and have another girl due
conscience only when I was willing to       before the Duggars were               Abuse Hotline with the Duggar ac-                                                          in July), moved over 1,000 miles away
confess my thoughts and temptations            household names”                   cusations. A report from that call was                                                     to Washington, D.C. Josh accepted a
quickly to God and my parents.”                    —A SECOND INSIDER              then sent to the Crimes Against Chil-                                                      high-profile lobbying job with con-
   But just how bad were his sins?                                                dren Division, which then alerted the                                                      servative group Family Research
An In Touch investigation has un-                                                 Springdale Police Department (the                                                          Council, and he is a political affiliate
covered that shortly before 2005,         ate occurred. It wasn’t rape, but it    Duggars live in Tontitown, which is                                                        of presidential hopeful Mike Hucka-
the Duggars’ oldest son, now 27, was      wasn’t good. Jim Bob was mortified      located in Springdale’s jurisdiction).                                                     bee, Senator Ted Cruz, Senator Rick
named as the “alleged offender” in a      and took Josh down to the station to    “I can’t comment or discuss [this                                                          Santorum, Indiana Governor Mike
police report accusing Josh (who was      have the authorities look into it.”     case] because of the sensitive nature                                                      Pence and Wisconsin Governor
then slightly underage) of “inappro-        Then, an unexpected (and un-          and because it involved a juvenile,”                                                       Scott Walker. He also seems to
priate touching” of a female minor,       fortunate) twist: The trooper who       Sgt. Darrel Hignite — an officer who                                                       have made peace with his dark
according to multiple sources. The        Jim Bob, 49, and Josh spoke to at the   sources say worked on the case — told                                                      past. “I often had failures in
charge being pursued was sexual as-       station — later identified as Joseph    In Touch when asked if he had knowl-                                                       my early teenage years,”
sault in the fourth degree. (In Touch     Hutchens — did not follow protocol      edge of the investigation. “Sorry,                                                         Josh writes on his site.
is not naming the alleged victim of       and never reported the case to the      there’s nothing I can say.”                                                                “[But] I learned quickly
the sexual assault.) “I saw and read      Child Abuse Hotline. Several sourc-        A police investigation was                                                              that great freedom can be
the report, and it clearly stated that    es, who have seen the police report,    launched, but by then, Arkan-                                                              achieved by accountabil-
[Duggar patriarch] Jim Bob brought        tell In Touch that Hutchens buried it   sas’ three-year statute of limita-                                                         ity, and great account-
                                                                                  tions had run out. Springdale police                                                       ability requires humility
                                                                                  liaised with the local prosecutor, who                                                     and openness.” ◼
                                                                                  confirmed that no charges could be
                                                                                  brought because of the statute of
                                                                                  limitations expiring. It’s unclear if
                                                                                  the CACD continued to investigate.
                                                                                  “Arkansas law prohibits any com-
                                                                                  ment about confidential informa-
                                                                                                                             CLOCKWISE FROM RIGHT: GETTY (2); R/R (2)




                                                                                  tion regarding a minor,” Ken Hunt
                                                                                  of Washington County’s CACD told
TOUGH DECISION                                                                    In Touch when asked about the in-
Jim Bob brought Josh to the Arkansas State                                         vestigation against Josh. Whitney
Police, where he spoke with former state                                           Taylor, who sources told In Touch                                                                                                              GOOD VS. EVIL
trooper Joseph Hutchens (right), after                                                                                                                                                                                      The Duggars seem like a close-knit
suspecting that his son had sexually                                               worked at the CACD on the Duggar                                                                                                         family on camera, but according to
assaulted a minor. “Jim Bob did what he                                           case, echoed Hunt. “I’m sorry,” Tay-                                                                                                       a family source, “There’s a lot of
thought was right,” says a source.                                                lor told In Touch. “I can’t give you any                                                                                                    resentment behind the scenes.”

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